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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


FUNDAMENTAL SPORTS                              §
MANAGEMENT, LLC, RAHUL PATEL,                   §
GRANT GAINES, NICOLAS LAHOOD,                   §      5-20-CV-00774-RBF (CONSOLIDATED
ROE-BRG INVESTMENTS, LLC,                       §               WITH 5-20-CV-775)
                                                §
                  Plaintiffs,                   §
                                                §
vs.                                             §
                                                §
MAYAR ZOKAEI,                                   §
                                                §
                  Defendant.                    §



                                           ORDER

        Before the Court is the status of the above-referenced case which was reassigned for

disposition following the parties consent to U.S. Magistrate jurisdiction. See Dkt. Nos. 46 & 47;

28 U.S.C. § 636(c). IT IS ORDERED THAT all deadlines in this case are hereby VACATED,

and this case is set for a status conference on March 14, 2022 at 9:30 am. The hearing will be

held by video conference using the Zoom video platform. As the date for the hearing approaches,

the Court will send, by separate communication, instructions for participating in the video

conference. The Court anticipates setting new trial and pretrial deadlines after conferring with

the parties.

        IT IS SO ORDERED.

        SIGNED this 4th day of March, 2022.




                                            RICHARD B. FARRER
                                            UNITED STATES MAGISTRATE JUDGE
